Case 1:20-cv-04288-AT Document 25 Filed 10/21/20 Page 1 of 1

 

 

USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK SEES EON EES ED
ANGIE KNOST, LLC, DOC #:
DATE FILED: _ 10/21/2020
Plaintiff,
-against- 20 Civ. 4288 (AT)

LIBERTY ALLIANCE REAL ESTATE ORDER
GROUP LLC.,

Defendant.

 

 

ANALISA TORRES, District Judge:

Having reviewed Plaintiff's motion for default judgment, ECF Nos. 21—23, the Court
concludes that the motion fails to comply with Attachment A to the Court’s Individual Practices in
Civil Cases, which requires, among other things, an “affidavit or declaration signed by a party with

personal knowledge” (emphasis added).

Accordingly, by November 5, 2020, Plaintiff shall re-submit materials for default judgment in
accordance with Attachment A to the Court’s Individual Practices.

SO ORDERED.

Dated: October 21, 2020
New York, New York

O4-

ANALISA TORRES
United States District Judge
